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                                                                  Exhibit A to the Complaint
Location: Staten Island, NY                                                                                         IP Address: 173.56.50.254
Total Works Infringed: 34                                                                                           ISP: Verizon Fios
 S3 Title                     Hash                                         Site           UTC          Published         CRO App. File      CRO Number
                                                                                                                         Date
 After Party                  28CB55CEF5EE6C2FE522DC82AFA053900E9A5848     Blacked        04/01/2018   03/31/2018        04/07/2018         PA0002091516
                                                                                          04:03:25
 He Should Not Have           03DB55C5EA03E840CEFAFD48D35CB4CAFFBF424C     Vixen          07/18/2017   07/18/2017        08/10/2017         PA0002046875
 Left Me Alone                                                                            22:01:16
 Paying Mr M                  1525672E90493326CE884D0054D9B81C2026954C     Blacked        08/24/2017   08/23/2017        10/10/2017         PA0002086163
                                                                                          07:10:18
 Eva Part 5                   1BC8C1ADCAA75C3EC9408C8CCBF5147863205E6C     Tushy          09/03/2017   09/03/2017        09/15/2017         PA0002052851
                                                                                          19:35:15
 Alina Loves To Be Bad        28F94F30A942C1A433243BEF5077E036528DDAF8     Blacked Raw    11/08/2017   11/08/2017        12/04/2017         PA0002097993
                                                                                          22:30:56
 Can Not Stop Will Not        2F73A144B780B7D386C021B9DFCA2C674931DEE8     Blacked        03/22/2018   03/21/2018        04/12/2018         PA0002091520
 Stop                                                                                     21:35:03
 Single In LA                 35FC391D7869DA183CB119D3D676978EC11ADDB9     Blacked Raw    12/14/2017   12/13/2017        01/02/2018         PA0002097434
                                                                                          03:26:46
 My Double Penetration        3637879FCB7A309DC4BA4B9F7C2D9FB1905E7544     Tushy          10/19/2017   09/28/2017        10/10/2017         PA0002086160
 Fantasy                                                                                  05:25:49
 Work Hard Play Hard          3C75DF0338469C899BB90D1928DCB245E2B3C2CF     Blacked        06/09/2017   05/25/2017        06/22/2017         PA0002039290
                                                                                          04:02:42
 Forget Your BF               468F8F9C289EBCD1B02725682736E024D3F22872     Blacked Raw    03/28/2018   03/28/2018        04/12/2018         PA0002091513
                                                                                          17:58:29
 Secret Desires               4B3C7DF81586807F6E0CD282A0187A3DECEAB3EA     Vixen          07/06/2017   07/03/2017        07/07/2017         PA0002070827
                                                                                          23:12:03
 Lets Get Physical Part 3     4B86BC16D0E5A0983C578B61ED87BC62C55B116A     Vixen          08/13/2017   08/12/2017        08/17/2017         PA0002048373
                                                                                          01:54:57
 In My Ass Now                4F0D3D0FD3F88791F4933080453A052BE6924F22     Tushy          10/08/2017   10/08/2017        10/19/2017         PA0002058298
                                                                                          20:54:28
 Award Season                 62C92B416712660F3575F3789860DFDB90A1A4C2     Vixen          03/21/2018   03/20/2018        04/12/2018         PA0002091523
                                                                                          21:29:58
 Anal On The First Date       68661CD1EE1348C45DC3065FE720C0C5DB7F5370     Tushy          11/22/2017   11/22/2017        01/04/2018         PA0002069339
                                                                                          23:29:55
 I Have Never Done This       71E3A2888C2DB58BBCE9353A68D2FF80359E304A     Blacked        07/05/2017   06/29/2017        07/07/2017         PA0002070821
 Before                                                                                   03:24:10
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S3 Title                Hash                                       Site          UTC          Published    CRO App. File   CRO Number
                                                                                                           Date
Eva Part 3              78F5DACFBD414605C47BD190F5C421E65F70B396   Tushy         07/11/2017   07/10/2017   08/18/2017      PA0002077678
                                                                                 01:33:39
The Client List         7ED38FACBF34C505495DA8029DABADD17CEF13E0   Blacked       12/07/2017   12/06/2017   01/04/2018      PA0002097418
                                                                                 03:34:46
Just Fuck Me Already    8F55C47AC0C8FED6F30E2C094965B3CF4749FA41   Vixen         08/28/2017   08/27/2017   09/15/2017      PA0002052843
                                                                                 17:37:30
Bottle Service          901129DA9629352ECBB99FF90FE06A5F749AF4DD   Blacked       11/02/2017   09/12/2017   09/15/2017      PA0002052846
                                                                                 20:13:32
Size Queen Brazilian    963232B05435B68AAF26F8CA9D942BB02B953191   Blacked Raw   11/14/2017   11/13/2017   11/30/2017      PA0002098039
Wife                                                                             15:18:21
Hot Wife                9E401C6583C7B9748B062B00479A97B14E769848   Blacked       07/30/2017   07/29/2017   08/11/2017      PA0002046872
                                                                                 14:24:35
Loosen Up               ADC64C92996FC4281CE0DF54F712C1DA791775A9   Blacked       08/29/2017   08/28/2017   09/15/2017      PA0002052848
                                                                                 03:10:02
Anal Threesome With     B30A24C236439A9B2C65C9234830190BD3026085   Tushy         10/24/2017   10/23/2017   12/04/2017      PA0002098018
My Boss                                                                          04:16:14
I like It Kinky         BD6DEB77EF83AB94A57874BEE8BEF368AB585949   Blacked       08/08/2017   08/08/2017   08/18/2017      PA0002077679
                                                                                 23:52:30
Latina Craves BBC       C137771266EB54E5E6A020A6222155DE16BF070E   Blacked Raw   12/03/2017   12/03/2017   01/04/2018      PA0002097460
                                                                                 20:16:18
OK Maybe One More       C59734C1DC4D87F563ABE2D6E371C12FD12FC7D9   Blacked       10/23/2017   10/22/2017   11/21/2017      PA0002063627
Time                                                                             02:14:20
No More Games           CA328163FA3ADE41786B2BE2C246F9EB7AE2EEA4   Blacked       06/13/2017   06/09/2017   07/07/2017      PA0002070825
                                                                                 08:10:55
My Rise In The Ranks    CB9ABC2B058CADE2FA7C0BD6A20558DC0E46EB0D Blacked         07/05/2017   06/19/2017   07/07/2017      PA0002070823
Part 2                                                                           03:23:20
Open Position           CC4D89C30BD65D68546BCF62ACE381585BD879EF   Blacked       07/05/2017   04/25/2017   06/15/2017      PA0002037576
                                                                                 03:33:02
Double Penetration At   DCD502ED09025BF60C90887175BEA55488E21911   Tushy         10/13/2017   10/13/2017   10/19/2017      PA0002058299
Work                                                                             19:00:08
Sorority Group Sex      E10259BB09AFE9410D944641E94048900ADEF0F2   Blacked       12/12/2017   12/11/2017   01/04/2018      PA0002097429
                                                                                 05:18:27
The Full Mr M           E624078D6EFCDFA76F06EA9E4048E05FF7C600C5   Blacked       08/04/2017   08/03/2017   08/17/2017      PA0002077671
Experience                                                                       21:57:03
He Chose Me             FEEFE673FB53B1AD93C77A7A8E14F7153293D653   Vixen         11/11/2017   11/10/2017   12/04/2017      PA0002097978
                                                                                 01:05:29
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